      Case 4:20-cr-40036-TSH Document 172-1 Filed 06/01/22 Page 1 of 25




                       UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA            )
                                    )      DOCKET NO.: 20-cr-40036-TSH
                 v.                 )
                                    )
VINCENT KIEJZO                      )
                                    )


                 DEFENDANT’S MOTION TO SUPPRESS EVIDENCE


                                   EXHIBIT 8:

                       Declaration, Professor Steven Murdoch
   Case 4:20-cr-40036-TSH Document 172-1 Filed 06/01/22 Page 2 of 25




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                                      Alexandria Division




UNITED STATES OF AMERICA,

                               Plaintiff,
   v.
                                                     Case No.: 1:20-cr-00143
ZACKARY ELLIS SANDERS,
                               Defendant




                DECLARATION OF PROFESSOR STEVEN MURDOCH


I, Professor Steven Murdoch, Declare under penalty of perjury that:


   1. I am currently Professor of Security Engineering at University College London. My
        research is focused on information security, particularly Internet privacy and payment
        systems security.
   2. I have a Ph.D. from the Security Group of the University of Cambridge Department of
        Computer Science and Technology. My doctoral research, completed in 2007,
        focused on the traffic analysis of anonymous communications systems, in particular
        Tor. I have worked with the developers of Tor since 2004, and I created the first
        version of the Tor Browser software in 2008. I continue to work with the Tor Project,
        the 501(c)(3) non-profit organization responsible for the development of the Tor
        network and associated software. I helped the Tor Project assess and improve the
        security and usability of Tor.




June 21, 2021                                                                     Page 1 of 14
  Case 4:20-cr-40036-TSH Document 172-1 Filed 06/01/22 Page 3 of 25




   3. I am a member of Christ
      Research Fellow. I am a Fellow of the Institution of Engineering and Technology
      (IET) and the British Computer Society (BCS).
   4. I have published a number of peer-reviewed research papers in the fields of
      anonymous communications and privacy-enhancing technologies, including Tor.
   5. My CV is attached as Exhibit A.

Scope of declaration

   6. This declaration will discuss how the Tor network operated and how activity on the
      Tor network could be traced as of May 23, 2019       the date of the alleged visit in this
      case. I have restricted this declaration to the use of websites running as Tor Onion
      Services (also known as Tor Hidden Services), where the website is accessible only
      through the Tor network. I also will only discuss version 2 Tor Onion Services, in
      which the Onion Service address is 16 characters followed by
      in question for this case is a version 2 Onion Service (because according to a


      not 56).
   7. The vast majority of usage of the Tor network (about 98% as of June 2021) is to visit
      websites and other Internet services which are also accessible directly over the
      Internet. I will not discuss this use of Tor in my declaration because it is not the type
      of usage alleged in this case. Similarly, I will not discuss version 3 Tor Onion
      Services, in which the Onion Service address is 56 characters followed by

Operation of Tor Onion Services

   8. When a user wishes to visit a Tor Onion Service, various computers (nodes) within
      the Tor network are involved. Some of these nodes are selected at random by the Tor
      software running on the user
      Tor software running on the Onion Service.
   9. The Tor software on the user                                                          e
      rendezvous node and send the address of the rendezvous node to the Onion Service.




June 21, 2021                                                                       Page 2 of 14
    Case 4:20-cr-40036-TSH Document 172-1 Filed 06/01/22 Page 4 of 25




         To protect the anonymity of the Onion Service (i.e., its IP address), 1 its connection is
         made through a three-node Tor circuit. Similarly, to protect the anonymity of the user,
         its connection to the rendezvous node is through a three-node Tor circuit.
     10. Next, the Onion Service will connect to the rendezvous node through a three-node Tor
         circuit (excluding the rendezvous node). The rendezvous node is responsible for
         connecting together the two circuits: one created by the user
         the Onion Service. The Onion Service and user can then exchange information, i.e.,


         Service can res
         addresses.
     11. When the Onion Service and user


         rendezvous node, two middle nodes, and the guard node selected by the Onion




Improvements in the Tor network s design and operation prior to May
2019 have made traffic analysis less reliable and more difficult to execute

     12. Traffic analysis of Tor has always been unreliable because of security features which
         were present in Tor since its creation. For example, data sent between nodes has
         always been padded so that everyone


                                                                                      2
         manual analysis we can de-anonymize a very small fraction of Tor users.
     13. The Tor Project is continually improving the Tor network and associated software to
         enhance the level of privacy and usability offered to Tor users. This work is




1
    The IP address could allow the physical location of the Onion Service to be found.
2
    Tor Stinks, presentation by National Security Agency, dated June 2012. Published by The
Guardian, October 4, 2013. Available at https://edwardsnowden.com/2013/10/04/tor-stinks-
presentation/ (emphasis in original)


June 21, 2021                                                                         Page 3 of 14
    Case 4:20-cr-40036-TSH Document 172-1 Filed 06/01/22 Page 5 of 25




        conducted in collaboration with academic researchers and other organizations. To
        help build trust in the development process, discussions of proposed and implemented
        changes to the Tor network are conducted publicly through academic literature,
        mailing lists, Internet chat, and websites maintained by the Tor Project. As such, the
        changes discussed here and the time frame in which they occurred are widely known.
     14. Since September 2014, the Tor software will select one guard node and keep this
        selection for as long as possible to minimize the number of computers with
        knowledge of IP addresses. For this reason, if a Tor node collected IP addresses of
        users connecting to it, only a very small proportion of Tor users would be identified,
        no matter how long this node was run. It takes 68 days before a new node can run at
        full capacity, which is a measure put in place to prevent someone from quickly
        creating new nodes in an attempt to collect more IP addresses.
     15. The likelihood that the Tor software will select any given node is proportional to that
        node                                                                  as the capacity of
        the Tor network has grown, the less likely it is that any one node will be selected, so it
        makes it less likely that a particular node can be used to observe users of the Tor
                                                                                manual analysis
                                                                    3
        we can de-anonymize a very small fraction of Tor users.         Since then, the network
        capacity has grown from about 10 gigabits per second to 200 gigabits per second,
        which has further increased the difficulty of performing traffic analysis by a factor of
        20.
     16. Tor
        is impossible to match to the corresponding content of data sent to or from the Onion
                                                                           data the user sends to
        their guard node will be of no help in identifying with which Onion Service that user
        is communicating.




3
    Tor Stinks, presentation by National Security Agency, dated June 2012. Published by The
Guardian, October 4, 2013. Available at https://edwardsnowden.com/2013/10/04/tor-stinks-
presentation/ (emphasis in original)


June 21, 2021                                                                         Page 4 of 14
    Case 4:20-cr-40036-TSH Document 172-1 Filed 06/01/22 Page 6 of 25




     17. Traffic analysis is a technique to attempt nevertheless to identify which user is
        communicating with which Onion Service by comparing patterns of when and how
        much data is sent (as opposed to looking at the content of the data, which is not
        visible to observers).
     18. Prior to 2016, traffic analysis on Tor was unreliable, but there were concerns that it
        might be possible in some cases because the rate at which data was sent between the
        user and their guard node was similar to the rate at which data was sent between the
        Onion Service and its guard node. Prior to 2016, if someone were able to observe
        those two links simultaneously, patterns in the two rates of data transfer may be
        sufficiently similar to identify the link with some degree of confidence. That was no
        longer the case beginning sometime in 2016.
     19. In 2016 Tor introduced an extension to its padding feature, to obscure patterns in the
        rate of data transfer to and from guard nodes. The Tor software randomly sends
        additional padding data to and from guard nodes which does not continue on through
        the rest of the Tor circuit. In so doing, the Tor software hides patterns in data rates
        that might otherwise allow traffic analysis to link users to the Onion Services they are
        visiting. Padding will cause traffic analysis to introduce more errors, both false-
        positives (where a user is incorrectly identified as having visited the Onion Service)
        and false-negatives (where a user is incorrectly identified as not having visited the
        Onion Service). In an undated presentation published in 2014, 4 GCHQ noted a high
        level of errors in performing traffic-analysis on Tor, even before the extended padding
        feature was introduced in 2016.
     20. The nodes that make up the Tor network are operated by thousands of volunteers
        around the world, many of whom do not disclose their identities. In some cases,
        operators of Tor nodes were found to tamper with or observe traffic on the nodes. To
        prevent operators from being able to tamper with or observe traffic passing through




4
    A potential technique to deanonymise users of the TOR network (undated). Published by
Der Spiegel, December 28, 2014. Available at https://edwardsnowden.com/2015/01/07/a-
potential-technique-to-deanonymise-users-of-the-tor-network/


June 21, 2021                                                                         Page 5 of 14
   Case 4:20-cr-40036-TSH Document 172-1 Filed 06/01/22 Page 7 of 25




       their node, since 2014, the Tor Project has pro-actively identified Tor nodes that show
       suspicious behavior and then exclude them from the network. This has increased the
       difficulty of covertly performing traffic analysis on the Tor network since 2014.
   21. Thus, prior to May 2019, numerous measures were implemented in the Tor software
       to make it even more difficult to use traffic-analysis to de-anonymize Tor users.

Law-enforcement likely had control over the Onion Service when the visit
was recorded

   22. Law enforcement can attempt to identify the IP address of a Tor user visiting an
       Onion Service in four scenarios:
       1) Law enforcement controls neither the user
       2) Law enforcement can observe the user and observe the Onion Service
       3) Law enforcement controls the Onion Service and some guard nodes
       4) Law enforcement controls the Onion Service
   23. Although I describe four scenarios, there are only two techniques for identifying the
       IP address of a user using Tor Browser properly: traffic-analysis (which can generate
       errors) or a Network Investigative Technique (which interferes with a user
       computer).
Scenario 1: Law enforcement controls neither the user
   24. In the first scenario, law-enforcement can only use traffic analysis if both the Onion
       Service and the user happen to randomly select a guard node controlled or observed
       by law-enforcement. Because guard nodes are selected at random, the chance of
       simultaneously controlling or observing both guard nodes is very small. It is for this
       reason, I believe the NSA concluded in 2012 that reliably de-anonymizing Tor users
       was not feasible, and since then, the difficulty has increased.
Scenario 2: Law enforcement can observe the user and observe the Onion Service
   25. In the second scenario, law-enforcement could use traffic analysis to confirm if a
       particular user was visiting an Onion Service. For example, in the complaint dated
       October 29, 2014, alleging that Blake Benthall operated the Silk Road 2.0 Onion




June 21, 2021                                                                     Page 6 of 14
    Case 4:20-cr-40036-TSH Document 172-1 Filed 06/01/22 Page 8 of 25




        Service,5 the FBI noted similarities between Tor traffic observed through pen-register
        data at the defendant                                                                 here
        are still likely to be errors in traffic-
        patterns in the rates of data, leading to both false-positives and false-negatives.
Scenario 3: Law enforcement observes the Onion Service and some guard nodes
     26. In the third scenario, law-enforcement can use traffic analysis to try to identify
        random visitors to an Onion Service (as opposed to specific targets). Traffic analysis
        is more likely to succeed than in the first scenario, but the likelihood of doing so is
        still very small. Firstly, it would only be possible to trace users who happen to select a
        guard under observation by law-enforcement. Secondly, even in the small number of
        cases where this has occurred, Tor
        through observing traffic to have a significant number of errors. Even if there are
        similarities in traffic patterns at a given guard node under observation and at the
        Onion Service, it could be that a different guard node is the correct match but is not
        under observation. As the number of visitors to an Onion Service increases, so will
        the likelihood of traffic analysis errors. Increasing the traffic to an Onion Service to


        errors, law-enforcement should wait until traffic-analysis indicates that the same user
        has visited an Onion Service multiple times.
Scenario 4: Law enforcement controls the Onion Service
     27. In the fourth scenario, law-enforcement could use a Network Investigative Technique
        (NIT) to identify the IP address of a user visiting an Onion Service by forcing the
        user               to disclose its IP address by connecting directly to a law-enforcement
        server without using the Tor network.




5
    United States of America v. Blake Benthall, Southern District of New York. October 29,
2014. Available at https://www.justice.gov/sites/default/files/usao-
sdny/legacy/2015/03/25/Benthall,%20Blake%20Complaint.pdf


June 21, 2021                                                                         Page 7 of 14
    Case 4:20-cr-40036-TSH Document 172-1 Filed 06/01/22 Page 9 of 25




     28. In order to use an NIT, law-enforcement must control the Onion Service prior to
        deploying the NIT. If law-enforcement controls the Onion Service, applying an NIT
        would be feasible and avoid the error-prone nature of traffic analysis.
     29. An NIT used in such a scenario could be based around malware that executes on the
        user
        connecting through Tor). The FBI used this technique to identify visitors to the
        Freedom Hosting servers.6 Such an NIT causes the user                er to do something it


     30. Alternatively, the NIT may not involve malware code and instead force the user
        Browser to malfunction and connect directly through the Internet rather than sending
        network traffic through the Tor network. Such an NIT causes the Tor Browser on the




     31. In summary, I do not believe the first scenario is plausible for this case. Traffic
        analysis is extremely unlikely to yield the hundreds of IP addresses submitted by the
                                              , nor give the       confidence that these IP
        addresses visited the Onion Service in question.
     32. I, therefore, conclude that law-enforcement almost certainly controlled the Onion
        Service prior to May 23, 2019, and either used traffic analysis or an NIT to identify
        visitors to the Onion Service. As discussed above, a single identification using traffic
        analysis could very well be a false-positive error. An NIT necessarily interferes with a
        user




6
    Feds Are Suspects in New Malware That Attacks Tor Anonymity, Kevin Poulsen, Wired
News, August 5, 2013. Available at https://www.wired.com/2013/08/freedom-hosting/


June 21, 2021                                                                         Page 8 of 14
  Case 4:20-cr-40036-TSH Document 172-1 Filed 06/01/22 Page 10 of 25




Neither of the two papers that Special Agent Ford cites could explain what
has happened in this case

   33. For reasons discussed below, neither of the two papers cited by Special Agent Ford, in
      paragraph 7 of the declaration dated August 10, 2020, could explain what has
      happened in this case.

The existence of research on how to defend against a global passive
adversary does not imply a global passive adversary is a realistic threat

   34. Neither paper shows that a global-passive adversary is possible.
   35. Information security research commonly makes use of unrealistic and hypothetical
      scenarios to help ensure that systems are secure in all realistic scenarios. This
      approach is analogous to that taken for systems where a failure would be dangerous,
      such as elevators. These are designed to withstand a weight far exceeding what is
      realistic (or even possible) so as to create a safety margin when they are used in the
      real world.
   36. The global-passive adversary is a similar type of theoretical assumption. A global-
      passive adversary is a hypothetical single organization that can observe every
      computer and every network connection in the world simultaneously and record all
      information. This is impossible, and even the most capable intelligence agencies such
      as NSA or GCHQ cannot achieve this goal.
   37. The global-passive assumption is a helpful thought experiment for research because if
      a system is designed to be secure even in the face of a global-passive adversary, then
      it should be safe in any realistic situation. The use of the global-passive adversary
      assumption in research does not, however, imply that such an adversary could ever
      exist in the real world.

The method of traffic-analysis that Special Agent Ford cites was not a
feasible method in this case

   38. The 2008 paper cited by Special Agent Ford in paragraph 7 of his declaration, by
      Chakravarty et al., assumed that the IP address of the user visiting the Onion Service
      was already known to law-enforcement and that law-enforcement were able to



June 21, 2021                                                                      Page 9 of 14
  Case 4:20-cr-40036-TSH Document 172-1 Filed 06/01/22 Page 11 of 25




      manipulate network equipment that is carrying that user
      identification. This confirmatory technique only worked when the law-enforcement
      agency was on the same continent as the user, and even then, it was unreliable. Since
      2008, this type of confirmatory technique has become much more difficult for the
      reasons discussed above. The 2008 paper is not relevant to understanding what law-
      enforcement could have done in 2019.

The Tor Project

   39. The Special Agent            in paragraph 5,                     advice to its users
      has been taken out of context. It continued:


           from where you are going on the Internet. What content and data you transmit
           over Tor is controlled by you. If you login to Google or Facebook via Tor, the




           you have logged into their
           share information, you are in control.
           Second, active content, such as Java, Javascript, Adobe Flash, Adobe Shockwave,
           QuickTime, RealAudio, ActiveX controls, and VBScript, are binary applications.
           These binary applications run as your user account with your permissions in your
           operating system. This means these applications can access anything that your
           user account can access. Some of these technologies, such as Java and Adobe
           Flash for instance, run in what is known as a virtual machine. This virtual
           machine may have the ability to ignore your configured proxy settings, and
           therefore bypass Tor and share information directly to other sites on the Internet.
           The virtual machine may be able to store data, such as cookies, completely
           separate from your browser or operating system data stores. Therefore, these
           technologies must be disabled in your browser to use Tor safely.
           That
           preconfigured to help you control the risks to your privacy and anonymity while
           browsing the Internet. Not only are the above technologies disabled to prevent
           identity leaks, Tor Browser also includes browser extensions like NoScript and



June 21, 2021                                                                   Page 10 of 14
  Case 4:20-cr-40036-TSH Document 172-1 Filed 06/01/22 Page 12 of 25




           Torbutton, as well as patches to the Firefox source code. The full design of Tor
           Browser can be read here. In designing a safe, secure solution for browsing the
           web with Tor,


   40. First, Tor does not protect users from disclosing identifying information about
       themselves (e.g., name, email address), but in this case, there is no allegation that the
       Internet user ever logged into any website or revealed their email address in a way
       that allowed law-enforcement to identify them.
   41. Second, the Tor Project advises users to use Tor Browser when connecting to Tor
       because the Tor Browser disables technologies that could disclose identifying
       information.
   42. The advice from the Tor Project that Special Agent Ford cites does not discuss traffic
       analysis or the global passive adversary at all.
   43. This guidance from the Tor Project does not mean that the theoretical scenarios
       Special Agent Ford outlined in his declaration are likely or even possible. In fact,
       when highly capable intelligence agencies have tried to de-anonymize Tor users, they
       have rarely succeeded.
   44. The discussion by Special Agent Ford on tracing exit nodes, in paragraph 6, is also
       not relevant to the case. Exit nodes are only used when Tor users visit a website
       outside of the Tor network. When visiting a Tor Onion Service, an exit node is not
       used because data never leaves the Tor network.

Using a Tor search engine to visit an Onion Service website is easy

   45. Paragraph 27 of the search warrant affidavit implies that searching to discover the
       address of an Onion Service is difficult and requires the use of a directory site.
   46. In fact, entering                                    address bar (as of June 2021) will
       offer 5 different search engines for Tor Onion Services, allowing the user to find
       Onion Services matching particular keywords easily. Of these, at least two were
       available in May 2019. There is no need to use an index to find a Tor Onion Service
       because search engines are easily available from Tor Browser with just a few clicks.
   47. Compared to the open Internet, there are fewer Onion Services, and so it is easier for a
       user to visit all sites returned for a search. For example, a search on the Torch search



June 21, 2021                                                                      Page 11 of 14
  Case 4:20-cr-40036-TSH Document 172-1 Filed 06/01/22 Page 13 of 25




      engine for                                     Onion Service websites, so it would be
      easy to visit them all. In contrast, Google finds 107 million websites, and so there is
      no feasible way to visit all of these.

Visiting an Onion Service from a search engine does not imply the visitor
was aware of the content of the website

   48. Search engines, including for Onion Services, build an index of websites and
      associate these with keywords. This index is built by the search engine visiting
      publicly accessible parts of the website. Material on the website that is only visible
      after logging in will not be part of this index. Based on the screenshot of the target
      website                                                                            tent
      available to logged-in users. Therefore the target site may appear in searches for
      innocuous keywords. Furthermore, when the site appears in search results, it will
      likely not be possible for a user to identify that there is illegal content without clicking
      on the search result to visit the website. For example, someone interested in BDSM
      could search for this term in a Tor search engine, but the results would not make clear
                                                                                          s of
      June 2021 returning 10 results, any of which would be easy to click on).
   49. Sites also have an incentive to encourage visitors from search engines, so the operator
      of the site may apply techniques to cause the site to appear more highly ranked for a
      wider range of keywords. This incentive results from the fact that some Onion
      Services are supported by advertising, just as with the open Internet. Furthermore,
      Onion Services who wish to protect the privacy of their operator and users visiting
      them may wish to increase the traffic to the website in order to obfuscate attempts to
      perform traffic analysis or other de-anonymization techniques (i.e., to add cover
      traffic). Search results may be intentionally misleading to attract more users who
      might not necessarily be interested in the content the website contains.

Directories will not necessarily indicate the content of a website

   50. Paragraph 27 of the search warrant affidavit also implies that directories of Onion
      Service addresses give accurate and clear indications of whether these services
      contain unlawful material.



June 21, 2021                                                                      Page 12 of 14
  Case 4:20-cr-40036-TSH Document 172-1 Filed 06/01/22 Page 14 of 25




   51. This is not necessarily the case. Some directories are open to editing by anyone and
      are not moderated. A person who wishes to promote an Onion Service may list the
      address while not indicating that the content is unlawful. As with the discussion of
      search engines above, this could be because, for example, the person wants to attract
      more users who are not motivated by illegal content but may nevertheless visit.

The difficulty of discovering the IP address of an Onion Service has
nothing to do with how easy it is to visit an Onion Service

   52. Paragraph 14 of the search warrant affidavit could be interpreted as saying that it is
      very difficult for users to view and visit Onion Services because they cannot find the
      IP address of the Onion Service using public lookups. However, this interpretation
      would not be correct.
   53. Tor allows users to visit an Onion Service without knowing that service
      Visiting an Onion Service from the Tor Browser is as simple as clicking on a link.
   54. On the open Internet, law-enforcement can use a website
      www.justice.gov) to identify its IP address. Tor does not allow law enforcement to do
      this for Onion Services. As a result, it is difficult, including for the reasons discussed
      above, for law enforcement to identify and locate who is running an Onion Service.
      That has nothing to do with how easy it is for a user to visit a Tor Onion Service
      because Tor allows users to visit an Onion Service without knowing its IP address.

A recorded visit to an Onion Service does not imply there was intent to visit
that Onion Service or view the content on it

   55. Just because someone visits a website, it does not imply that they intended to visit that
      website or view the content on that website.
   56. It is common that a single website will contain parts of other websites. For example,
      on visiting the CNN homepage, content is downloaded from 70 different domain
      names, mostly for the purposes of showing advertisements or collecting statistics
      about who is visiting the site. The CNN homepage includes code that causes the web
      browser to download and display an image from Google to form part of an
      advertisement.




June 21, 2021                                                                      Page 13 of 14
  Case 4:20-cr-40036-TSH Document 172-1 Filed 06/01/22 Page 15 of 25




    57. Onion Services can operate similarly. For example, an Onion Service (A) could
         include code that instructs Tor Browser to download images or other content from a
         different Onion Service (B), which then may or may not be displayed. If Onion
         Service B was under surveillance by law-enforcement, whether through an NIT or
         traffic analysis, a user visiting Onion Service A would also be seen to be visiting
         Onion Service B, even though the user only meant to visit Onion Service A. In the
         implementation of an NIT or traffic-analysis that I am aware of, it would not be
         possible for law-enforcement to distinguish someone directly visiting Onion Service
         B from someone who actually visits Onion Service A, which then triggers the indirect
         visit to Onion Service B.
    58. Someone may include part of one Onion Service website within another to inflate the
         number of visitors to the website, to create cover traffic, to advertise content, or to
         collect statistics on who is visiting the site. The act of someone
         Onion Service is not an indication of an intent to visit that website.




DONE this day, June 21, 2021.




--------------------------------------------
Professor Steven Murdoch
Cambridge, UK




June 21, 2021                                                                        Page 14 of 14
Case 4:20-cr-40036-TSH Document 172-1 Filed 06/01/22 Page 16 of 25
      Case 4:20-cr-40036-TSH Document 172-1 Filed 06/01/22 Page 17 of 25



                             Professor Steven J. Murdoch
Address:          Computer Science Department                   Email:              s.murdoch@ucl.ac.uk
                  University College London                     Homepage:           https://murdoch.is/
                  Gower Street, London, WC1E 6BT

Education
2002 2007         University of Cambridge, Computer Laboratory (UK) PhD in Computer Science
                  Thesis: Covert Channel Vulnerabilities in Anonymity Systems
1998 2002         University of Glasgow (UK) BSc Honours in Software Engineering (1st Class)

Professional History
Oct 20            Professor (proleptic appointment), Computer Science, University College London
Oct 16 Oct 20     Reader (proleptic appointment), Computer Science, University College London
Aug 14            Principal Research Fellow, Computer Science, University College London
Nov 13            Innovation Security Architect, OneSpan
Dec 12 Jul 14     Research Fellow, Computer Laboratory, University of Cambridge
Jan 09 Nov 12     Senior Research Associate, Computer Laboratory, University of Cambridge
Aug 07 Sep 13     Chief Security Architect, Cronto
Aug 07 Dec 08     Research Associate, Computer Laboratory, University of Cambridge
Aug 06 Jun 07     Research Assistant, Computer Laboratory, University of Cambridge

Expert Witness
                  Expert witness for Worcester Police Force, 2007
                  R v Patel, Croydon Crown Court, 2008
                  Job v Halifax PLC, case number 7BQ00307, Nottingham County Court, 2009
                  Kaae v HSBC, London Mercantile Court, 2011
                  R v Fisher, Camberwell Green Youth Court, 2014
                  R v Vincent, Winchester Crown Court, 2014
                  Expert witness relating to an application for third-party disclosure, 2014
                  Ongoing case related to attribution of Internet traffic, 2019

Other Appointments and Affiliations
Fellowships:
                  Fellow of the Institution of Engineering and Technology FIET (2016 )
                  Fellow of the British Computer Society FBCS (2016 )
                  Bye-                                            )
                                                                  008 2014)

Journal Editor:
                  Proceedings on Privacy Enhancing Technologies (2015)
                  IEEE Internet Computing (special edition in 2013)
                  SpringerBriefs in Cybersecurity (2012 )

International Award Chair:
                  Andreas Pfitzmann (Privacy Enhancing Technologies Symposium) Award (2019)




1
       Case 4:20-cr-40036-TSH Document 172-1 Filed 06/01/22 Page 18 of 25


International Conference Sponsorship Chair: Privacy Enhancing Technologies Symposium (2016 )

International Conference Program Chair: Privacy Enhancing Technologies Symposium (2014 2015)

International Conference General Chair: Financial Cryptography (2011)

International Conference Programme Committee Member:
                 ACM CHI Conference on Human Factors in Computing Systems (2019)
                 IEEE European Symposium on Security and Privacy (2019)
                 Financial Cryptography (2010, 2016, 2018)
                 IFIP Summer School (2008, 2016, 2017)
                 Network and Distributed System Security Symposium (2017)
                 ACM Conference on Computer and Communications Security (2007, 2008, 2010, 2011,
        2016)
                 Annual Privacy Forum (2014)
                 USENIX Free and Open Communications on the Internet (2013)
                 USENIX Security (2012)
                 European Symposium on Research in Computer Security (2011)
                 Privacy Enhancing Technologies Symposium (2007, 2008, 2009, 2011)
                 Workshop on Foundations of Security and Privacy (2010)
                 Workshop on Privacy in the Electronic Society (2006, 2007, 2009)
                 ACM Symposium on Applied Computing (2007)

International Award Committee Member:
                 SC Awards Europe (2018)
                 PET Award (2013)

International Grant Proposal Reviewer:
                 EPSRC Peer Review College
                 Arts and Humanities Research Council
                 Royal Society International Exchanges Panel
                 Netherlands Organisation for Scientific Research (NWO)
                 Austrian Science Fund (FWF)
                 Isaac Newton Institute
                 National Science Foundation
                 Canada Foundation for Innovation
                 Research Council of Norway (Panel Leader for Centre of Excellence Programme)
                 European Commission
                 United States Air Force Office of Scientific Research (AFOSR)

International Journal Reviewer:
                 Proceedings on Privacy Enhancing Technologies (2017, 2018, 2019)
                 ACM Transactions on Information & System Security
                 IEEE Transactions on Software Engineering
                 IEEE/ACM Transactions on Networking
                 Identity in the Information Society

Prizes, Awards and Other Honours
2019    Awarded Internet Research Task Force Applied Networking Research Prize
2019    Shortlisted for UCL
2016    Awarded SIIA CODiE prize for Best Identity & Access Security Solution for DIGIPASS for Apps

2
       Case 4:20-cr-40036-TSH Document 172-1 Filed 06/01/22 Page 19 of 25


2015    Awarded Security Products New Product of the Year for DIGIPASS 760 authentication token
2014    Shortlisted for Cambridge Ring Company of the Year
2011    Shortlist                                        Chip and PIN is Broken
2010    Awarded the IEEE Award for Outstanding Paper in Security & Privacy Chip and PIN is Broken
2008    Awarded the IEEE Award for Outstanding Paper in Security & Privacy Thinking Inside the Box:
        System-Level Failures of Tamper Proofing
2008    Shortlisted for the Privacy Enhancing Technologies (PET) Award for Outstanding Research
        Sampled Traffic Analysis by Internet-Exchange-Level Adversaries
2008    Awarded the European Research Consortium for Informatics and Mathematics (ERCIM) Security
        and Trust Management Working Group Prize for Best PhD Thesis Covert Channel Vulnerabilities
        in Anonymity Systems
2007    Awarded the USENIX Security Prize for Best Student Paper Keep Your Enemies Close: Distance
        Bounding Against Smartcard Relay Attacks
2006    Awarded the University of Cambridge Computer Laboratory Prize for the Most Notable Publication
        of 2006 Low-Cost Traffic Analysis of Tor
2006    Shortlisted for the Privacy Enhancing Technologies (PET) Award for Outstanding Research Low-
        Cost Traffic Analysis of Tor

Invited Talks
37 invited talks given since 2004, inc. 17 at international conferences and 12 keynotes
         Jul 18 Royal Society Privacy Enhancing Technologies
         Feb 18 Royal Society UK-Netherlands Bilateral International Meeting Transparency enhancing
         technologies for accountable data science
         Dec 17 European Parliament Sakharov Debate: is online privacy a human right?
         Dec 17 ACI Worldwide Age of Customer Consent, who owns the Customer Data
         Nov 17 University of Edinburgh Payment Security: Attacks & Defences
         Aug 16 IFIP Summer School Anonymity & Censorship-Free Communication
         Nov 15 BT Insights, Adastral Park Anonymous Communications
         Sep 15 Information Security Forum Privacy by Design
         Dec 14 GCHQ Academic Centers of Excellence conference Cyber-security innovation
         Oct 14 [Keynote] Payment Knowledge Forum 2014, London, UK Payment Security: Attacks &
         Defences
         Jun 14 [Keynote] OWASP AppSec Europe 2014, Cambridge, UK Anonymous Communications
         and Tor: History and Future Challenges
         Nov 13 [Keynote] UK Cyber & Fraud Solutions, British Embassy, Switzerland Banking Security
         Sep 13 [Keynote] European Symposium on Research in Computer Security (ESORICS 2013),
         Royal Holloway, UK Security Protocols and the Law: The Case of Chip and PIN
         Sep 13 [Keynote] Quantitative Aspects in Security Assurance, (QASA 2013), Royal Holloway, UK
           Quantifying and Measuring Anonymity
         Mar 13 [Keynote] Open Web Application Security Project (OWASP), Leuven, Belgium Banking
         Security: Attacks and Defences
         Sep 12 [Keynote] Cryptographic Hardware and Embedded Systems (CHES 2012), K.U. Leuven,
         Belgium Banking Security: Attacks and Defences
         Jun 11 [Keynote] Centre for Telematics and Information Technology (CTIT) Symposium,
         University of Twente The Tor Anonymous Communication Network
         Feb 10 [Keynote] Conference on Achieving Sustainable Improvements in the Security of Retail
         Payments, Federal Reserve Bank of Philadelphia, Philadelphia PA, US Chip & PIN: 5 Years On
         Sep 08 [Keynote] Future of Identity in the Information Society (FIDIS)/International Federation
         for Information Processing (IFIP) Internet Security & Privacy Summer School, Brno, Czech
         Republic The Future of Anonymity and Censor-Free Publishing
         Jun 08 [Keynote] International Workshop on Security and Trust Management, European Research
         Consortium for Informatics and Mathematics (ERCIM), Trondheim, Norway On the Origins of a
         Thesis
         Sep 07 [Keynote] European Conference on the BSD Family of Operating Systems (EuroBSDCon),
         Copenhagen, Denmark Hot or Not: Fingerprinting Hosts through Clock Skew

3
       Case 4:20-cr-40036-TSH Document 172-1 Filed 06/01/22 Page 20 of 25



Teaching Career Summary
2015             Lecturer for University College London
                 COMP0057 Research in Information Security (module co-ordinator, 30 contact hours over 10
                      lectures: lecturing and development of new lecture material)
                 COMP0064 Dissertation (module co-ordinator, allocation of projects to supervisors and
                      managing assessment; supervising and assessing MSc Information Security projects)
                 COMP0025 Introduction to Cryptography (guest lecturer, on cryptography applied to banking
                      security)
                 COMP0058 Applied Cryptography (guest lecturer, on anonymous communications systems)
2014             Visiting Lecturer for Computer Science & Engineering at the University of Cambridge
                 Computer Security: Current Applications and Research (lecturing, development of learning
                      material, setting and marking of examinations for MPhil Advanced Computer Science)
                 Security II (Lecturing, development of learning material, setting and marking of
                      examinations for BA Computer Science course in Year 3 of 3)
                 Software Engineering (Lecturer, Engineering Department for MEng Engineering in Year 3 of
                      4)
2002             Supervisor for Engineering and Computer Science at the University of Cambridge
                 Tutorials and marking of coursework for:
                 Digital Electronics (BA/MEng Engineering course in Year 1 of 4)
                 Linear Circuits (BA/MEng Engineering course in Year 1 of 4)
                 Dimensional Analysis (BA/MEng Engineering course in Year 1 of 4)
                 Introduction to Security/Security I (BA Computer Science course in Years 2 of 3)
                 Discrete Mathematics (BA Computer Science course in Years 2 of 3)
                 Object Oriented Programming (BA Computer Science course in Years 1 of 3)
                 Security II (BA Computer Science course in Years 3 of 3)
                 Computer Science undergraduate and diploma/MPhil (postgraduate) projects
                 Engineering MEng projects
2014             Visiting Lecturer for Royal Holloway, University of London
                 Smart Cards/Tokens Security and Applications (lecturing and development of new lecture and
                      corresponding formative assessment, on Trusted Execution Environments)
2014             Visiting Lecturer for University College London
                 Web Economics (lecturing and development of new lecture on Online Payments Methods)
2011 2014        Lecturer for Computer Science and Engineering at the University of Cambridge
                 Computer Security: Principles and Foundations (Development of new course, lecturing,
                      development of learning material, setting and marking of examinations for MPhil
                      Advanced Computer Science)
                 Computer Security: Current Applications and Research (Development of new course,
                      lecturing, development of learning material, setting and marking of examinations for
                      MPhil Advanced Computer Science)
                 Security II (Lecturing, development of learning material, setting and marking of
                      examinations for BA Computer Science course in Year 3 of 3)
                 Security I (Lecturing, development of learning material, for BA Computer Science in Year 2
                      of 3)
                 Software Engineering (Lecturer, Engineering Department for MEng Engineering in Year 3 of
                      4)

Enterprise/External Engagement
Creator and maintainer of the EMV Lab (https://emvlab.org/) research platform in 2009 providing tools for
researchers and practitioners in the field of card and payment system security, currently attracting over
32,000 visits per month.


4
      Case 4:20-cr-40036-TSH Document 172-1 Filed 06/01/22 Page 21 of 25


Creator of the Tor Browser in 2008 based on my research on Internet privacy. This system is now the flagship
product of the Tor Project and the technology                                                           .

Creator of the Cronto payment authentication technology, spun out from my banking research in 2007. I
served as Chief Security Architect for this company until its acquisition by OneSpan in 2013. The technology
is used banks including market leaders in Germany, Netherlands and Switzerland.

Short Courses for Professional Development:
                  UCL Faculty of Laws development of a new lecture covering topics including data
        protection, privacy enhancing technologies, blockchain, and cryptography for legal professionals
        (2016 )
                  SecAppDev Industrial Training course jointly run by K.U. Leuven, Solvay Business School
        and Trinity College Dublin. Development of new series of lectures: security economics; anonymity
        systems requirements and architecture; banking security architecture; ATM and point of sale system security
        architecture; online banking security (2010 2014)
                  University of Cambridge development of lectures and practical exercises for an advanced
        course for information security practitioners in industry: mobile systems; traffic analysis and anonymity
        (2008 2010)

Information Security consultant:
                  A hedge fund developing new internal security controls (2018)
                  A fund investing in Internet security technologies (2017)
                  A start-up developing and commercializing privacy enhancing technologies (2015 )
                  A leading academic publisher (2015)
                  A company developing secure collaboration tools and services (2013)
                  A small company developing secure voice conferencing services (2010)
                  Documotion Research, developing secure PIN distribution technologies (2005)
                  A leading developer of mobile phone operating systems (2004)

Public and Policy Engagement:
                  Member of Advisory Council to the Foundation for Information Policy Research (2019 )
                  Contributor to UK Authorised Push Payment Contingent Reimbursement Model consumer
        protection scheme, including through advising Which? and Age UK on how my research shows how
        to prevent fraud (2016 2019)
                  Author of Home Office standard for secure handling of evidence in the UK justice system
        (2014 2017)
                  Steering group member for Royal Society report on Cybersecurity (2014 2016)
                  Technical adviser to House of Commons Science and Technology Committee investigation
        on the Investigatory Powers Bill (2016)
                  Organiser of joint Royal Society & Royal Society of Canada Frontiers of Science meeting on
        Information and Communication Technologies (2016)
                  Editor of Parliamentary Office on Science and Technology report on The Dark Web (2015)
                  Witness to the Joint House of Lords and Commons Committee on the Communications
        Data Bill (2013)
                  Editor of Parliamentary Office on Science and Technology report on Digital Identity (2012)
                  Frequent meetings with policymakers, working as a Member of the Cambridge Centre for
        Science and Policy (CSaP) Network (2010 )
                  Author of first UK standard on secure distribution of payment card PINs (2005)

Outreach to schools and school-age students:
                 Presenter at Royal Institution Engineering Masterclass at University of Cambridge and
        University of Oxford (2016 )


5
     Case 4:20-cr-40036-TSH Document 172-1 Filed 06/01/22 Page 22 of 25


                Presenter at Royal Institution Computing Masterclass at UCL (2015 )
                Presenter at Royal Institution Maths Masterclass, Cambridge (2011 )
                Supervisor for Nuffield Research Placement (2013)
                Talks to the general public and school students, including during UK National Science &
       Engineering Week

Work with the media
                 Research featured on Computerphile YouTube channel (57,665 views as of October 2019)
                 Ran security and source-protection training for Channel 4 investigative journalists
                 Author for The New Statesman; article in August 2017
                 Author for The Daily Mail; article in August 2016
                 Author for The Observer; article in April 2015
                 Author for The Conversation; 7 articles with 121,000 readers since February 2015
                 Author for The European; article in August 2011
                 Reviewer for BBC Tomorrows World online activity on history of science
                 Regular interviews with print, online, radio, and TV journalists, including:
The UK New Scientist, The Times, Guardian, Telegraph, Independent, Financial Times, Daily Mail, BBC
News, BBC Watchdog, BBC Newsnight, BBC Fake Britain, ITV Manhunt, Naked Scientists, Rip Off Britain,
BBC World Service, The Register, LBC
US CNN, Wall Street Journal, Huffington Post, Pittsburgh Business Times, ABC News, WIRED
Canada CBC News
France Sciences et Avenir
Germany ARD Plusminus, The European, Der Spiegel, Heise
Italy
The Netherlands VPRO Goudzoekers
Columbia NTN24
Australia ABC Background Briefing
China Central China TV
Other international outlets Channel News Asia, Al Jazeera, International Business Times

Selected Publications
       For the full list of publications, see https://murdoch.is/papers

       Do You See What I See? Differential Treatment of Anonymous Users. Sheharbano Khattak, David
       Fifield, Sadia Afroz, Mobin Javed, Srikanth Sundaresan, Vern Paxson, Steven J. Murdoch, Damon
       McCoy. 2016 Network and Distributed System Security Symposium, San Diego, CA, US, 21 24
       February 2016.
       Optimising node selection probabilities in multi-hop M/D/1 queuing networks to reduce latency of
       Tor. Steven Herbert, Steven J. Murdoch, Elena Punskaya. IET Electronics Letters Volume 50, Issue
       17, pages 1205 1207, 14 August 2014.
       Impact of Network Topology on Anonymity and Overhead in Low-Latency Anonymity Networks.
       Claudia Diaz, Steven J. Murdoch, Carmela Troncoso. 10th Privacy Enhancing Technologies
       Symposium (PETS 2010), Berlin, Germany, 21 23 July 2010.
       An Improved Clock-skew Measurement Technique for Revealing Hidden Services. Sebastian Zander,
       Steven J. Murdoch. 17th USENIX Security Symposium, San Jose, CA, USA, 28 July 01 August
       2008.
       Metrics for Security and Performance in Low-Latency Anonymity Systems. Steven J. Murdoch,
       Robert N.M. Watson. 8th Privacy Enhancing Technologies Symposium (PETS 2008), Leuven,
       Belgium, 23 25 July 2008.
       Sampled Traffic Analysis by Internet-Exchange-Level Adversaries. Steven J. Murdoch, Piotr
                 . 7th Workshop on Privacy Enhancing Technologies, Ottawa, Canada, 20 22 June 2007.



6
Case 4:20-cr-40036-TSH Document 172-1 Filed 06/01/22 Page 23 of 25
Case 4:20-cr-40036-TSH Document 172-1 Filed 06/01/22 Page 24 of 25
Case 4:20-cr-40036-TSH Document 172-1 Filed 06/01/22 Page 25 of 25
